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   7
   8                           UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11 POVILAS KARCAUSKAS,              )    Case No. 2:15-cv-9225
     on behalf of himself and all     )
  12 others similarly situated,       )    CLASS ACTION
                                      )
  13               Plaintiff,         )    COMPLAINT FOR:
                                      )    1.  VIOLATING THE FAIR DEBT
  14         vs.                      )        COLLECTION PRACTICES ACT;
                                      )    2.  VIOLATING THE CALIFORNIA
  15   R E G R E S O F I N A N C I A L)        R O S E N TH A L FAIR DEBT
       SERVICES LLC;                  )        COLLECTION PRACTICES ACT;
  16   GOLDSMITH & HULL, APC; )
       WILLIAM I. GOLDSMITH;          )    and DEMAND FOR JURY TRIAL
  17   and DOES 1 to 10;              )
                                      )
  18               Defendants.        )
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   1                                        Jurisdiction
   2         1.     Jurisdiction of this court arises under the Fair Debt Collection Practices
   3   Act, 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331, and supplemental jurisdiction exists
   4   for the state law claims pursuant to 28 U.S.C. § 1367.
   5
   6                                           Parties
   7         2.     The plaintiff, POVILAS KARCAUSKAS [“ Plaintiff” or “Mr.
   8   Karcauskas”] is a natural person and a resident within this district.
   9         3.     Defendant REGRESO FINANCIAL SERVICES LLC [“Regreso”] was,
  10   at all times relevant to this complaint, a California company, the principal business
  11   purpose of which is the collection of debts that were previously owed to another.
  12         4.     Defendant GOLDSMITH & HULL, APC [“G&H”] was, at all times
  13   relevant to this complaint, an corporation, the principal business purpose of which is
  14   the collection of debts owed to others.
  15         5.     Defendant WILLIAM I. GOLDSMITH [“Goldsmith”] was, at all times
  16   relevant to this complaint, an individual debt collector, whose principal business is
  17   the collection of debts owed to others.
  18         6.     The true names and capacities of the defendants sued herein as DOES
  19   1-10, inclusive, are unknown to plaintiff, at the present time.
  20
  21                               Facts Supporting Each Claim
  22         7.     Plaintiff Povilas Karcauskas received by U.S. Mail           Defendants’
  23   collection letter dated September 9, 2015 sent in an attempt to collect a debt allegedly
  24   due Regreso, a copy of which is attached as Exhibit A.
  25         8.     Plaintiff received by U.S. Mail Defendants’ “Application for Renewal
  26   of Judgment” and “Memorandum of Costs After Judgment, Acknowledgment of
  27   Credit, and Declaration of Accrued Interest” in the lawsuit Regreso Financial
  28   Services v. Povilas Karcauskas which were file stamped by the Clerk of the Court for
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   1   the Superior Court of California on May 1, 2015. Copies of these Superior Court
   2   filings by defendants are attached as Exhibits B and C, respectively.
   3         9.     Plaintiff received by U.S. Mail the defendants’ “Notice of Renewal of
   4   Judgment” in the lawsuit Regreso Financial Services v. Povilas Karcauskas which
   5   was file stamped by the Clerk of the Court for the Superior Court of California on
   6   May 1, 2015 and is attached as Exhibit D.
   7         10.    Several years ago Plaintiff had incurred a debt to Chase in a credit
   8   transaction used by Mr. Karcauskas to purchase goods or services for personal,
   9   family and household purposes.
  10         11.    Regreso acquired Plaintiff’s alleged debt to Chase after it had gone into
  11   default.
  12         12.    Regreso retained the services of Defendants G&H and Goldsmith to
  13   collect Plaintiff’s alleged Chase debt.
  14         13.    On April 2, 2015, the Secretary of State of the State of California
  15   suspended Regreso.
  16         14.    Regreso remained suspended by the Secretary of State from April 2,
  17   2015 until Regreso revived its legal status on July 15, 2015.
  18         15.    The California Court of Appeal, in Timberline, Inc. v. Jaisinghani, 64
  19   Cal.Rptr.2d 4, 7; 54 Cal.App.4th 1361, 1367 (Cal. Ct. App. 1997) held that a
  20   “corporation which was suspended . . . could not obtain renewal of judgment, even
  21   though corporation was in good standing when judgment was originally entered.” On
  22   September 23, 2015, the Superior Court of California granted Plaintiff’s motion to
  23   vacate the renewal of judgment.
  24         16.    Though Plaintiff’s counsel advised Defendants that the Renewal of
  25   Judgment was defective and should be vacated, Defendants never withdrew their
  26   Renewal of Judgment or Memorandum of Costs, never requested dismissal of the
  27   collection case, and never filed a satisfaction of judgment in the collection case.
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   1         17.    The California Court of Appeal, in V & P Trading Co., Inc. v. United
   2   Charter, LLC, 151 Cal.Rptr.3d 146, 149-150; 212 Cal.App.4th 126,132 (Cal. Ct. App.
   3   2012) stated:
   4                Revenue and Taxation Code section 23301 provides that the
   5         corporate powers, rights, and privileges of a domestic taxpayer may be
   6         suspended if the corporation fails to pay certain taxes, penalties, or
   7         interest. “A corporation which has been suspended pursuant to section
   8         23301 is without capacity to prosecute a civil action while suspended.”
   9         ( Welco Construction, Inc. v. Modulux, Inc. (1975) 47 Cal.App.3d 69,
  10         71, 120 Cal.Rptr. 572.) “Revenue and Taxations Code section 23305a
  11         provides for a certificate of revivor upon appropriate application by a
  12         corporation, and ‘Upon the issuance of such a certificate by the
  13         Franchise Tax Board the taxpayer therein named shall become reinstated
  14         but such reinstatement shall be without prejudice to any action, defense
  15         or right which has accrued by reason of the original suspension....’ ”
  16         (Welco, at p. 71, 120 Cal.Rptr. 572, italics omitted.)
  17         18.    In their collection letter, Exhibit A, Defendants represented that the case
  18   as being styled “Chase Manhattan Bank v. Povilas Karcauska,” though there is no
  19   such case filing. The collection case against Plaintiff is actually styled as “Regreso
  20   Financial Services LLC v. Povilas Karcauska.” (See Exhibits B, C and D.)
  21         19.    Plaintiff was confused by Exhibit A.
  22         20.    In their collection letter, Exhibit A, Defendants represented that “an
  23   employer must fully cooperate and follow the wage assignment as ordered by the
  24   Court.” There was no wage assignment order in the case.
  25         21.    Defendants’ communications, contained in Exhibits A, B, C and D, are
  26   each false, deceptive and misleading communications; a false and misleading means
  27   concerning debt collection; that nonpayment may result in the garnishment or
  28   attachment of the debtor’s wages; misstate the character, amount or legal status of an
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   1   alleged debt; are a false representation and deceptive means to collect a debt or obtain
   2   information about a consumer; and constitute an unfair and unconscionable means to
   3   collect or attempt to collect a debt.
   4
   5                                 Class Action Allegations
   6         22.    This matter is brought as a class action defined as:
   7                a.     (i) all persons having an address within the state of California (ii)
   8                       who were sent a communication from Defendants in the form of
   9                       Exhibits A, B, C, or D (iii) to recover a debt incurred for personal,
  10                       family, or household purposes (iv) due to Regreso (v) which was
  11                       not returned undelivered by the United States Postal Service (vi)
  12                       during the period of time from April 2, 2015 through July 14,
  13                       2015; and
  14                b.     (i) all persons having an address within the state of California (ii)
  15                       who were sent a communication from defendants G&H or
  16                       Goldsmith in the form of Exhibit A (iii) to recover a debt incurred
  17                       for personal, family, or household purposes (iv) allegedly due to
  18                       an entity which acquired the debt after default and which was not
  19                       identified in the communication (v) which was not returned
  20                       undelivered by the United States Postal Service (vi) during the
  21                       period of time one year prior to the filing of the Complaint
  22                       through the date of class certification.
  23         23.    The class is so numerous that joinder of all members is impractical.
  24         24.    There are questions of law and fact common to the class, which
  25   predominate over any questions affecting only individual class members. The
  26   principal issue is whether the defendants’ communications violated the Fair Debt
  27   Collection Practices Act, 15 U.S.C. §§ 1692, et seq. (“FDCPA”) and the Rosenthal
  28   Fair Debt Collection Practices Act, Cal. Civil Code § 1788.10, et seq. (“RFDCPA”).
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   1         25.    There are no individual questions, other than whether a class member
   2   was sent a communication in the form of Exhibits A, B, C, or D which can be
   3   determined by ministerial inspection of Defendants’ records.
   4         26.    Plaintiff will fairly and adequately protect the interests of the class.
   5         27.    Plaintiff has retained counsel experienced in handling class claims and
   6   claims involving unlawful collection practices.
   7         28.    The questions of law and fact common to the class predominate over any
   8   issues involving only individual class members. The principal factual issue is
   9   whether the defendants’ communication in the form of Exhibits A, B, C, or D was
  10   sent to the class member. The principal legal issue is whether Defendants’
  11   communications in the form of Exhibits A, B, C, or D violated the FDCPA and
  12   CA FDCPA.
  13         29.    Plaintiff’s claims are typical of the claims of the class, which all arise
  14   from the same operative acts and are based on the same legal theories.
  15         30.    A class action is a superior method for the fair and efficient adjudication
  16   of this controversy. Class-wide damages are essential to induce Defendant to comply
  17   with federal and state law. The interest of class members in individually controlling
  18   the prosecution of separate claims against the defendants are small because the
  19   maximum statutory damages in an individual FDCPA action is $1,000.00.
  20   Management of these class claims are likely to present significantly fewer difficulties
  21   than those presented in many class actions, e.g., for securities fraud.
  22         31.    The nature of notice will be U.S. Mail to the proposed class members.
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   1                                 CAUSES OF ACTION
   2                                        COUNT 1
   3                                  Against all defendants
   4                      Violating the Fair Debt Collection Practices Act
   5         32.    Paragraphs under the headings Parties, Facts Supporting Each Claim,
   6   and Class Allegations are incorporated by reference.
   7         33.    Plaintiff is a “consumer,” as defined at 15 U.S.C. § 1692a(3).
   8         34.    Defendants are each a “debt collector,” as defined at 15 U.S.C. §
   9   1692a(6).
  10         35.    Defendants violated the FDCPA in the following ways:
  11                a.     Violation of § 1692e by using a false, deceptive or misleading
  12                       representation or means in connection with the collection of a
  13                       debt.
  14                b.     Violation of § 1692e(2)(A) by making the false representation of
  15                       the character, amount or legal status of a debt.
  16                c.     Violation of § 1692e(5) by making a threat to take any action that
  17                       cannot legally be taken.
  18                d.     Violation of § 1692e(10) by using a false representation or
  19                       deceptive means to collect or attempt to collect any debt or to
  20                       obtain any information concerning a consumer.
  21                e.     Violation of § 1692f by the collection of any amount (including
  22                       interest) that are not permitted by law.
  23         36.    As a result of the defendants’ violations of the FDCPA, Plaintiff and the
  24   class are entitled to an award of maximum statutory damages, costs and reasonable
  25   attorney’s fees.
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   1                                        COUNT 2
   2                  Against all Defendants except William I. Goldsmith
   3         Violating the California Rosenthal Fair Debt Collection Practices Act
   4         37.   Paragraphs under the headings Parties, Facts Supporting Each Claim,
   5   and Class Allegations are incorporated by reference.
   6         38.   Plaintiff incorporates the violations of the FDCPA, as alleged above,
   7   pursuant to Cal. Civil Code § 1788.17.
   8
   9         WHEREFORE, plaintiff prays for judgment as follows:
  10         1.    Certify this matter to proceed as a class action;
  11         2.    Pursuant to 15 U.S.C. § 1692k(a), an award of the maximum statutory
  12   damages, costs and reasonable attorney’s fees;
  13         3.    Pursuant to Cal. Civil Code §§ 1788.17 and 1788.32, an award of the
  14   maximum statutory damages, costs and reasonable attorneys’ fees;
  15         4.    And for such other and further relief as the court deems proper.
  16
  17                             DEMAND FOR JURY TRIAL
  18         Plaintiff demands trial by jury in this action.
  19
  20   Dated: November 30, 2015
                                              CONSUMER LAW OFFICE OF
  21                                          ROBERT STEMPLER, APC
  22
  23                                           /s/ Robert Stempler
                                              By: Robert Stempler,
  24                                          Counsel for Plaintiff
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   1                             TABLE OF EXHIBITS
   2
   3   Exhibit
   4   A.        Collection letter dated September 9, 2015
   5   B.        Application for Renewal of Judgment
   6   C.        Memorandum of Costs After Judgment, Acknowledgment of Credit, and
   7             Declaration of Accrued Interest
   8   D.        Notice of Renewal of Judgment
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